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 1                                           UNITED STATES DISTRICT COURT

 2                                                  DISTRICT OF NEVADA

 3                                                              ***

 4

 5   UNITED STATES OF AMERICA,

 6                              Plaintiff,                           2:12–cr–00118–JAD–VCF

 7   vs.
                                                                     ORDER
 8   MICHAEL C. GARCIA,

 9                              Defendant.

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11              Before the court are Michael Garcia’s Motion to Vacate Plea Agreement (#981), Motion for

12   Change of Counsel (#99), Motion for a Hearing (#100), Motion for Order to Show Cause (#104),

13   Motion to Dismiss (#109), and Motion for an Order (#110). In response, the Government has filed three

14   motions to strike (#101, #106, and #112). Defendant’s motions were signed by Katrina Garcia,

15   Defendant Michael Garcia’s mother.

16              Katrina Garcia’s motions are denied. Katrina Garcia is not a party to this action. She is not an

17   attorney. Local Rule IA 10-6(a) states, “[a] party who has appeared by attorney cannot while so

18   represented appear or act in the case.” Further, pursuant to Local Rules IA 10-1 through 10-5, only

19   attorneys and supervised law clerks are permitted to appear before the court. The Ninth Circuit has held

20   that although a party may appear pro se on his or her own behalf, an individual “has no authority to

21   appear as an attorney for other than himself.” Johns v. County of San Diego, 114 F.3d 874, 876 (9th Cir.

22   1997) (citing C.E. Pope Equity Trust v. United States, 818 F.2d 696, 697 (9th Cir.1987)). The right to

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25       Parenthetical citations refer to the court’s docket.

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 1   self-representation is personal. Russell v. United States, 308 F.2d 78, 79 (9th Cir. 1962). It cannot be

 2   assigned or transferred by executing a power of attorney, as was attempted here. See id.

 3          Because Katrina Garcia is not a party or an attorney, she does not have standing in this court and

 4   may not file motions on her son’s behalf. See Local Rule IA 10-1(a); Johns, 114 F.3d at 876. The court

 5   is sympatric with Katrina Garcia’s cause; it understands that, as Defendant’s mother, Katrina Garcia is

 6   merely trying to protect her child. Violating the Local Rules and Ninth Circuit authority, however, is

 7   counterproductive. U.S. Magistrate Judge Robert J. Johnston and the undersigned U.S. Magistrate Judge

 8   have previously ordered Katrina Garcia to comply with the Local Rules and stricken her filings.

 9   (October 25, 2012, Order (#33) at 1); (October 29, 2012, Order (#36) at 1); (May 15, 2013, Order (#71)

10   at 2.). Katrina Garcia, nonetheless, disregarded the court’s orders and filed six motions on her son’s

11   behalf. (See #98, #99, #100, #104, #109, and #110).

12          Accordingly, on October 2, 2013, the court held a hearing on Katrina Garcia’s motions. (Mins.

13   Proceedings (#113)). Katrina Garcia was appointed counsel at government expense2. (Id.) The court

14   expressly ordered Katrina Garcia to stop filing motions on her son’s behalf. (Id.) The court also

15   cautioned Katrina Garcia that if she files additional motions with the court she will be ordered to show

16   cause as to why the court should not hold her in contempt and either fine or incarcerate her. (Id.) This is

17   the court’s final warning.

18          ACCORDINGLY, and for good cause shown,

19          IT IS ORDERED that Katrina Garcia’s motions (#98, #99, #100, #104, #109, and #110) are

20   DENIED.

21          IT IS FURTHER ORDERED that the Government’s Motions to Strike (#101, #106, and #112)

22   are GRANTED.

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       Ms. Karen Winckler was appointed as counsel to represent Katrina Garcia in case
25   no. 2:13-ms-00071.

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 1          IT IS FURTHER ORDERED that the clerk of court will hold, receive stamp, and forward to the

 2   undersigned Magistrate Judge’s chambers any document that Katrina Garcia attempts to submit to the

 3   court in this case. A contempt hearing will then be scheduled.

 4          IT IS FURTHER ORDERED that the clerk of court forward, via e-mail, a copy of this order to

 5   Ms. Karen Winckler at Winckler@wswlawlv.com.

 6          IT IS SO ORDERED.

 7          DATED this 4th day of October, 2013.

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10                                                               CAM FERENBACH
                                                                 UNITED STATES MAGISTRATE JUDGE
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